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     Federal Defender
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5    Attorney for Defendant
     VICTOR SOLANO
6
7
                                   IN THE UNITED STATES DISTRICT COURT
8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,             )               NO. 1:05-0102 OWW
11                                         )
                       Plaintiff,          )               STIPULATION TO VACATE MOTIONS
12                                         )               CALENDAR/HEARING AND TO BE RESET; SET
           v.                              )               AND CONTINUE STATUS CONFERENCE
13                                         )               HEARING; AND ORDER THEREON
     SANH CHAN THAI, etc., et al.,         )
14                                         )               Date: August 29, 2005
                       Defendants.         )               Time: 1:30 p.m.
15   _____________________________________ )               Judge: Hon. Oliver W. Wanger
16          IT IS HEREBY STIPULATED by and between plaintiff and defendant Victor Solano’s counsel
17   of record herein, that the motions calendar and the hearing on said motions set for July 5, 2005 is hereby
18   vacated to be reset by the Court; and it is requested that a Status Conference Hearing be set for August 29,
19   2005 at 1:30 p.m.
20          IT IS FURTHER STIPULATED by and between plaintiff and defendants Sanh Chan Thai and
21   Jun Gao’s counsel of record herein, that the Status Conference Hearing scheduled for July 5, 2005 is
22   hereby continued to August 29, 2005 at 1:30 p.m.
23          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
24   justice, including but not limited to, the need for the period of time set forth herein for effective defense
25   ///
26   ///
27   ///
28   ///
               Case 1:05-cr-00102-OWW Document 22 Filed 07/07/05 Page 2 of 2


1    preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(B)(iv).
2            DATED: June 30, 2005                                    MCGREGOR W. SCOTT
                                                                     United States Attorney
3
4
5                                                                By /s/ Jonathan B. Conklin
                                                                    JONATHAN B. CONKLIN
6                                                                   Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
7
8            DATED: June 30, 2005
9
10                                                                   /s/ Stephen Mensel
                                                                     STEPHEN MENSEL
11                                                                   Attorney for Defendant
                                                                     SANH CHAN THAI
12
13
             Dated: June 30, 2005
14
15                                                                   /s/ Patience Milrod
                                                                     PATIENCE MILROD
16                                                                   Attorney for Defendant
                                                                     JUN GAO
17
                                                                     QUIN DENVIR
18                                                                   Federal Defender
19
20                                                               By /s/ Mark A. Lizárraga
                                                                    MARK A. LIZÁRRAGA
21                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
22                                                                  VICTOR SOLANO
23                                                         ORDER
24           IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§
25   3161(h)(8)(A) and 3161(h)(B)(iv).
26           DATED: July __6___, 2005
                                                             /s/ OLIVER W. WANGER
27                                                           ______________________________
                                                             OLIVER W. WANGER
28                                                           U.S. District Court Judge for the
                                                             Eastern District of California

     Stipulation to V acate Motions Calendar/Hearing etc     2
